                         NO. 23-11984-J


   IN THE UNITED STATES COURT OF APPEALS FOR THE
                  ELEVENTH CIRCUIT


ORGANIZATION OF PROFESSIONAL AVICULTURISTS INC., et
                           al.,
                 Plaintiffs/Appellants,

                                V.


             U.S. FISH AND WILDLIFE SERVICE,
                       Defendant/Appellee.
     _______________________________________________________

         On Appeal from United States District Court
              For the Southern District of Florida
                     No. 1:22-cv-23536-KMW
     _______________________________________________________

             PRINCIPAL BRIEF FOR APPELLANT
     ________________________________________________________

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August 18, 2023                      Counsels for Appellant
Org. of Pro. Aviculturists v. U.S. Fish & Wildlife Serv.,
No. 23-11984-J (CA11), 1:22-cv-23536-KMW (S.D. Fla.)

                        APPELLANT’S
             CERTIFICATE OF INTERESTED PERSONS

     I hereby certify as required by Eleventh Circuit Rules 26.1-1

through 26.1-5 that, to the best of my knowledge, the following is a com-

plete list of persons and entities that have an interest in the outcome of

this case.

1.    CEVALLOS, Astrid Stuth, Trial Attorney, Wildlife and Ma-

      rine Resources Section, Environment and Natural Resources

      Division, U.S. Department of Justice, Washington, D.C.;

2.    FLAX, Meredith L., Deputy Section Chief, Wildlife and Ma-

      rine Resources Section, Environment and Natural Resources

      Division, U.S. Department of Justice, Washington, D.C.;

3.    GARCIA, David A., David Anthony Garcia PA, Counsel for

      Appellants, Miami, FL;

4.    GNAM, Rosemarie, Chief, Division of Scientific Authority,

      U.S. Fish and Wildlife Service, Washington, D.C.;

5.    GOVINDAN, S. Jay, Section Chief, Wildlife and Marine Re-

      sources Section, Environment and Natural Resources



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Org. of Pro. Aviculturists v. U.S. Fish & Wildlife Serv.,
No. 23-11984-J (CA11), 1:22-cv-23536-KMW (S.D. Fla.)

      Division, U.S. Department of Justice, Washington, D.C.;

6.    HUSEN, Russell, Attorney-Advisor, Office of the Solicitor,

      U.S., Department of the Interior, Washington, D.C.;

      KIM, Todd, Assistant Attorney General, Environment and Natu-

      ral Resources Division, U.S. Department of Justice Washington,

      D.C.;

      LINEOLATED PARAKEET SOCIETY, Humble, Texas;

9.    LUNDMAN, Robert J., Assistant Section Chief, Appellate Sec-

      tion, Environment and Natural Resources Division, U.S. Depart-

      ment of Justice, Washington, D.C.;

10.   ORGANIZATION OF PROFESSIONAL AVICULTURISTS, INC.,

      Tampa, Florida;

11.   STOCKMAN, Robert P., Attorney, Appellate Section, Environ-

      ment and Natural Resources Division, U.S. Department of Jus-

      tice, Washington, D.C.;

12.   United States Department of Justice, Washington, D.C.;

13.   United States Department of the Interior, Washington, D.C.;

14.   United States Fish and Wildlife Service, Washington, D.C.;

15.   WILLIAMS, Hon. Kathleen M., Judge, U.S. District Court,


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Org. of Pro. Aviculturists v. U.S. Fish & Wildlife Serv.,
No. 23-11984-J (CA11), 1:22-cv-23536-KMW (S.D. Fla.)

      Southern District of Florida, Miami, Florida;

16.   WILLIAMS, Martha, Director, U.S. Fish and Wildlife Service,

      Washington, D.C.;

      No publicly traded company or corporation has an interest in the

outcome of this case or appeal.

                                         /s/ David A. Garcia
                                         David A. Garcia

August 18, 2023                          Counsel for Appellant




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          STATEMENT REGARDING ORAL ARGUMENT

     The Plaintiffs-Appellants, Organization of Professional Avicultur-

ists and Lineolated Parakeet Society, believe that this matter can be de-

cided without oral argument, but counsel for appellants is available for

oral argument if the Court believes that it will beneficial to the adjudi-

cation.




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                            NO. 23-11984-J


   IN THE UNITED STATES COURT OF APPEALS FOR THE
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ORGANIZATION OF PROFESSIONAL AVICULTURISTS INC., et
                           al.,
                 Plaintiffs/Appellants,

                                    V.


               U.S. FISH AND WILDLIFE SERVICE,
                         Defendant/Appellee.
                ____________________________________

               PRINCIPAL BRIEF FOR APPELLANT
                ____________________________________

     The appellants, the Organization of Professional Aviculturists

(“OPA”) and the Lineolated Parakeet Society (“LPS”) come before this

Court because they believe that the plain language of 16 U.S.C. §

4905(a)(2) has a clear and unambiguous meaning; that avian species

permitted for import under the WBCA must be listed on 50 C.F.R §

15.33 by the countries of origin, as defined by 50 C.F.R. § 23.5, from

which they are permitted to be imported.

     The statute at issue in this litigation is the Wild Exotic Bird Con-

servation Act (“WBCA”), codified at 16 U.S.C. § 4901-4916. This statute



                                    1
has been so rarely litigated in the 31 years since it became law, that it

tempted one of the few courts to issue an opinion on it to pun on its

name, calling it a “rara avis.” United States v. Cullen, 499 F.3d 157, 159

(2d Cir. 2007). The particular question presented to this Court, the

meaning of 16 U.S.C. § 4905(a)(2), like most of the rest of the meaning

of the statute, is a question of first impression, in this, and all other cir-

cuits.

         The OPA and LPS would also take this opportunity at the outset

to define who they are. The appellants in this case are organizations

that represent aviculturists. That is to say, passionate individuals who

adore birds and the caring, raising, and breeding thereof. Both organi-

zations believe that a sustainable and well-regulated trade is essential

to the conservation of avian species in this Anthropocene epoch.

         The OPA and LPS hope that the FWS will be more willing to work

with aviculture going forward. We also hope that the FWS will correctly

label us as aviculturists in this litigation and not with a derisive anto-

nym as they have taken to doing in past litigations.

                    STATEMENT OF JURISDICTION

         The OPA and LPS seek review of the district court’s order



                                      2
granting the FWS’s motion to dismiss their complaint. (DE 19.) The dis-

trict court had jurisdiction over the appellants’ claims under 28 U.S.C.

§1331 (federal question) and 28 U.S.C. § 1346(a)(2) (United States as

defendant). The appellants, OPA and LPS filed two petitions with

FWS, as was their statutory right under 16 U.S.C. § 4909. These peti-

tions were denied as invalid by FWS, and as there was no further ex-

haustion requirement set forth by statute or regulation, the OPA and

LPS sought review of these denials before the district court for the

Southern District of Florida.

      Venue was proper in the Southern District of Florida under

§1391(e)(1)(C) because the plaintiff, Organization of Professional Avi-

culturists is a national, non-profit 501(c)(6) organization that is incorpo-

rated in the State of Florida and was a petitioner on both petitions at is-

sue in this case.

      This Court has jurisdiction over this case under 28 U.S.C. §1291

as it is an appeal from a “final decision of [a] district court[].” Specifi-

cally, the district court granted the FWS’s motion to dismiss and closed

proceedings. (DE 19.)

      Venue is proper before this Court because the district court sits



                                       3
within this circuit. 28 U.S.C. § 1294(1). Lastly, the OPA and LPS

timely appealed from the decision of the district court in accordance

with Fed. R. App. P. 4(a)(1)(B). On June 9, 2023, the district court dis-

missed the appellants' complaint. (DE 19.) And also on June 9, 2023,

the appellants filed their notice of appeal. (DE 20.)

                    STATEMENT OF THE ISSUES

       The issue before the Court is:

         1) Does the plain language of 16 U.S.C. § 4905(a)(2)(A) require
         that the FWS accept and adjudicate petitions filed under 16
         U.S.C. § 4909 that request that avian species be added to the
         approved import list found at 50 C.F.R. § 15.33 from specific
         countries of origin?

                      STATEMENT OF THE CASE

  I.     Course of Proceedings and Dispositions Below

       On June 3, 2021, the appellant, OPA filed a petition for rulemak-

ing pursuant to 16 U.S.C. § 4909 and 5 U.S.C. § 553(e), with the FWS to

add Cactus conure (Eupsittula cactorum)1 captive-bred in certain



1 The species in question is sometimes listed in the genus Aratinga and

sometimes in the genus Eupsittula. The undersigned was recently in-
formed by University of Chicago Ph.D. candidate studying the genetics
of South American parrots that the Cactus conure is properly in the ge-
nus Eupsittula and not the genus Aratinga. Thus, the change in nomen-
clature. Fun fact, the genus name, Eupsittula, combines the Ancient


                                        4
European countries to the list of approved species for import to the

United States under 16 U.S.C. § 4905; 50 C.F.R § 15.33. On July 11,

2021, the appellants, OPA, and LPS, filed a joint petition for rulemak-

ing pursuant to 16 U.S.C. § 4909 and 5 U.S.C. § 553(e). with the FWS

for the purpose of adding the green form of the Lineolated parakeet

(Bolborhynchus lineola) captive-bred in certain European countries to

the list of approved species for import to the United States under 16

U.S.C. § 4905; 50 C.F.R § 15.33. (DE 11-1, 11-2).

        On July 28, 2021, the FWS responded with two nearly identical

letters denying the petitions as invalid because they did not interpret

the WBCA, nor their implementing regulations as permitting listing in

a country-by-country manner. (DE 1-3; 1-4). The letter invited the ap-

pellants to re-file their petitions requesting that both species be in-

cluded on the approved list, globally. In response, the appellants did ex-

actly that, refiling both petitions requesting that both species be listed

globally on the approved list of captive-bred species permitted for im-

port.




Greek eu meaning "good" with the Modern Latin psittula meaning "lit-
tle parrot." Cactus conures are definitely good little parrots.

                                     5
     On November 10, 2021, the FWS issued 90-day rulings under 16 §

4909, on both these petitions denying them for failing to “present suffi-

cient information indicating that” either of the species “might meet any

of the criteria set forth at 50 C.F.R § 15.31.” 86 Fed. Reg. at 62,506,

62,507.

     In response to the denial of the first set of petitions, on October 31,

2022, the OPA and LPS filed their complaint in the district court for the

Southern District of Florida. This complaint only challenged the FWS’s

finding that the first two petitions were invalid under the statute and

sought judicial review under the APA as agency action that was “arbi-

trary, capricious, an abuse of discretion, or otherwise not in accordance

with the law” under 5 U.S.C. § 706(2)(A). In so doing, OPA and LPS

sought to have the district court declare that the finding by the FWS

that their first two petitions were invalid because they requested a

country specific listings on the approved import list was unlawful be-

cause it contradicted the plain statutory language of the 16 U.S.C. §

4905(a)(2)(A). (DE 1.)

     On January 17, 2023, FWS filed a motion to dismiss for lack of ju-

risdiction in response to OPA’s and LPS’s complaint. (DE 11.) On



                                     6
February 10, 2023, the OPA and LPS filed their response in opposition

to the FWS’s motion to dismiss. (DE 17.) On February 24, 2023, the

FWS filed its reply to the response. (DE 18.)

     On June 9, 2023, the district court dismissed the OPA’s and LPS’s

complaint. (DE 19.) In doing so the district court found that OPA and

LPS had established subject matter jurisdiction because they did have

standing to bring the claims. Specifically, the district court found that

OPA and LPS sought an order from the district court requiring FWS to

rule on the initial petitions which had been deemed invalid and that

this was a redressable injury. (DE 19 at 12-14.) However, the district

court also found that the appellants had failed to state a claim that the

FWS had acted in a manner that was “arbitrary, capricious, an abuse of

discretion, and contrary to law.” It reached this conclusion by agreeing

with the FWS’s argument that the plain language 16 U.S.C. §

4905(a)(2)(A), does not require a species to be listed as to “the countries

of origin from which the species may be imported.” (DE 19 at 14-20.)

The district court also dismissed Count II of the complaint as a facial

challenge which was time-barred. (DE 19 at 21-22.) This appeal fol-

lowed. (DE 20.)



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      II.     Statement of the Facts.

              a. The Appellants.

            The OPA is a national, non-profit 501(c)(6) organization incorpo-

rated in the State of Florida. It is focused on promoting the sustainable

trade and conservation of avian species. The OPA represents profes-

sional aviculturists, that is, individuals whose life’s work involves the

caring, breeding, exhibiting, and conserving, of avian species. The OPA

is a U.S.-based delegate to the Convention on International Trade in

Endangered Species of Wild Fauna and Flora (“CITES”).2 (DE 19 at 1-

2.)

            The LPS is a nonprofit 501(c)(4) organization established in 2006,

whose purpose is to represent the Lineolated Parakeet (Bolborhyncus

lineola), the breeders of said species and to educate the public about

keeping and breeding these birds in captivity. The LPS is incorporated



2 Convention on International Trade in Endangered Species of Wild

Fauna and Flora (“CITES”), Mar. 3, 1973, 27 U.S.T. 1087, T.I.A.S. No.
8249. The OPA was a participant at the most recent CITES meeting
held in Geneva, Switzerland on June 19-23, 2023. See List of Partici-
pants, Thirty-first meeting of the CITES Animals Committee,
https://cites.org/sites/default/files/eng/com/ac/32/AC32%20LoP.pdf., (last
visited Aug. 17, 2023).

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in Texas, with its principal place of business in Texas. The LPS runs

the “It’s Not Easy Being Green” project through which they promote the

breeding of genetically pure green-type Lineolated Parakeets to pro-

mote the continued viability of the U.S. bloodlines of the species. The

LPS, through its members, has provided green-type Lineolated Para-

keets to the Smithsonian's National Zoo in Washington D.C. (DE 19 at

1-2.)

          b. The Birds.

        The two species which are the subject of this litigation are the

Cactus conure (Eupsittula cactorum) and the Lineolated parakeet (Bol-

borhynchus lineola).

        The Cactus conure, also known as the Caatinga parakeet, is a me-

dium-sized parrot with a wide range in its native range of eastern Bra-

zil; it is classified as a species of least concern by the IUCN Redlist.3

The species is absent from U.S. aviculture, but present in small, but es-

tablished numbers in European aviculture. (DE 11-1.)

        The Lineolated parakeet (Bolborhynchus lineola), also known as




3 Cactus Parakeet Eupsitula cactorum, https://www.iu-

cnredlist.org/ja/species/22685748/93085356 (last visited Aug. 18, 2023).

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the Barred parakeet, is a small-sized parrot with a wide range in its na-

tive range of Bolivia, Peru, Colombia, Venezuela, Panama, Costa Rica,

Nicaragua, Honduras, El Salvador, Guatemala, and Mexico; it is classi-

fied as a species of least concern by IUCN Redlist.4 The species is com-

mon in worldwide aviculture, but the U.S. population is primarily made

up of color mutations,5 due to the fact that only color mutations are per-

mitted to be imported to the United States. 50 C.F.R. § 15.33(a).

     Both these species are listed in Appendix II of CITES, and as a re-

sult, the international trade in these species requires the issuance and

presentation of an export permit, discussed further infra.

        c. The Convention on International Trade in Endan-
           gered Species of Wild Fauna and Flora (CITES)

     The Convention on International Trade in Endangered Species of

Wild Fauna and Flora (“CITES”) is a multilateral treaty to which 183



4 Barred parakeet Bolborhynchus lineola, https://www.iu-

cnredlist.org/species/22685913/140714291 (last visited Aug. 18, 2023).
5A “mutation” is an avicultural term for a specimen of a species that is

morphologically distinct from a wild-type specimen. For example, in the
wild, Lineolated parakeets (Bolborhynchus lineola) have green feathers.
However, over the many years that this species has been captive-bred
worldwide, many color mutants have emerged, including, but not lim-
ited to, blue, yellow, white, and grey. These mutations are then bred
and preserved by some aviculturists, much like the way dog breeds are
established and preserved.

                                   10
countries and the European Union are parties. The purpose of the Con-

vention is to provide a framework by which countries can regulate the

international trade is non-domesticated fauna and flora. The United

States was one of the original signatories to the Convention in 1973.

CITES, Mar. 3, 1973, 27 U.S.T. 1087, T.I.A.S. No. 8249.

     The principal method through which the Convention seeks to reg-

ulate trade is through the creation and maintenance of appendices. The

appendices are referred to as Appendix I, Appendix II, and Appendix

III. Appendix I includes “all species threatened with extinction which

are or may be affected by trade." Species listed in this appendix are sub-

ject to the strictest restrictions and trade in these species “must only be

authorized in exceptional circumstances.” CITES Art. II(1). Appendix II

includes “all species which although not necessarily now threatened

with extinction may become so unless trade in specimens of such species

is subject to strict regulation in order to avoid utilization incompatible

with their survival.” CITES Art. II(2)(a). And Appendix III includes “all

species which any Party identifies as being subject to regulation within

its jurisdiction . . . and as needing the co-operation of other Parties in

the control of trade.” CITES Art. II(3). In summary, these Appendices,



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contain the lists of all the species which the Convention, as a body, has

identified as requiring the monitoring and regulating of trade.

     A species listed on any of the three appendices is subject to the

Convention’s permitting system. For an Appendix I species, to be traded

internationally the exporting country must issue an export permit and

the importing country must issue an import permit. To issue an export

permit, the exporting country must be convinced that the export is non-

detrimental to the survival of species, that the specimen was lawfully

acquired, will be humanely shipped, and that the importing country will

issue an import permit. To issue an import permit, the importing coun-

try must find that the import is non-detrimental to the survival of spe-

cies, the recipient is suitably equipped to care for the live specimen, and

that the import is for a non-commercial purpose. CITES Art. III(2)-(3).

However, specimens of the Appendix I species bred-in-captivity for com-

mercial purposes at a registered breeding facility are treated as if they

were listed in Appendix II. CITES Art. VII(4). The West Indian Mana-

tees, African Grey Parrots, and some populations of Elephants are

listed in Appendix I.

     For an Appendix II species to be traded internationally the



                                    12
exporting country must issue an export permit. To issue an export per-

mit, the exporting country must be convinced that the export is non-det-

rimental to the survival of species, that the specimen was lawfully ac-

quired, and that it will be humanely shipped. The import of such a spe-

cies requires the presentation of an export permit. CITES Art. IV. Gi-

raffes, medicinal leeches, and all parrots except those listed in Appendix

I and four domesticated species are listed in Appendix II.

     For an Appendix III species to be traded internationally the ex-

porting country must issue an export permit, The exporting country

must be convinced that the specimen was lawfully acquired and that it

will be humanely shipped. The import of such a species will require the

presentation of a certificate of origin or an export permit. CITES Art. V.

Appendix III listings are country-specific, so the import of a specimen

from a country of origin that is not the country that has listed the spe-

cies only needs to demonstrate its country of origin. Ocellated turkeys

from Guatemala are listed in Appendix III.

     The two species at issue here are both listed on Appendix II and

are regularly bred and traded outside of their countries of endemic

origin.



                                    13
     The form of a CITES permit is regulated by the Convention.

CITES Art. VI. Such permits must include the “country of origin” of the

specimens, among other information. CITES Art. VI(2). The model

CITES permit, as provided by the Convention, is included at the end of

this section for the Court’s consideration, as is a redacted U.S.-issued

CITES permit.

     All parties to the Convention "shall take appropriate measures to

enforce the provisions" of the Convention, and ensure that "specimens

shall pass through any formalities required for trade with a minimum

of delay. CITES Art. VII.

     Additionally, under the Convention, parties are permitted to adopt

“stricter domestic measures regarding the conditions of trade, taking,

possession, or transport of specimens of species included in Appendices

I, II, III, or the complete prohibition thereof.” CITES Art. XIV.

     In the United States, the FWS enforces the CITES. The US’s obli-

gations under the CITES are codified at 50 C.F.R. Part 23.




                                    14
15
16
        d. The Wild Exotic Bird Conservation Act (“WBCA”), cod-
           ified at 16 U.S.C. § 4901-4916.

     The Wild Exotic Bird Conservation Act (“WBCA”), codified at 16

U.S.C. § 4901-4916, was originally passed into law on October 23, 1992,

and is, by its own terms, a “stricter domestic measure” under the

CITES. 16 U.S.C. § 4901(12). Additionally, the WBCA states in its

statement of purpose that it seeks to promote the conservation of exotic

birds by “encouraging and supporting effective implementation of the

Convention.”6 16 U.S.C. § 4902(4).

     The WBCA, when passed into law, created a temporary morato-

rium on the import of exotic avian species listed on any of the three

CITES’s Appendices. 16 U.S.C. § 4904(c). Congress found that this

measure was necessary due to the large and unsustainable import of

wild-caught exotic birds into the United States at the time. 16 U.S.C. §

4901(1)-(2). Congress also found that taking such an action would help

the U.S. better comply with its obligations under CITES. 16 U.S.C. §

4901(11).

     It was the intent of Congress that the moratorium was to be lifted



6 References in the WBCA to the Convention are referring to the CITES.

16 U.S.C § 4903(1).

                                     17
species by species, as the FWS made the necessary findings in 16 U.S.C.

§ 4905. These determinations were supposed to be conducted “periodi-

cally” and a list of species “not subject to a prohibition or suspension of

importation” was supposed to be created and published. 16 U.S.C. §

4905(a)(1). The FWS currently publishes that list at 50 C.F.R § 15.33

but has only ever conducted one review of the list of species not subject

to a prohibition or suspension of importation under the WBCA. See 59

Fed. Reg. 62,254, 62,262 (Dec. 2, 1994). This first and only review was

conducted on December 2, 1994, and added 48 species to the list, many

of which are non-CITES listed, as well as several mutations of said spe-

cies. 50 C.F.R § 15.33. Notable to this litigation, the list included three

separate entries for the blue, yellow, and white form of the Lineolated

Parakeet (Bolborhynchus lineola), but not the green form of the species.

     The WBCA created a procedure by which “any person may at any

time submit . . . a petition” to request a species be added to the list of

species permitted for importation to the United States. 16 U.S.C. §

4909. Within 90 days of receiving such a petition, the FWS must pub-

lish in the Federal Register a preliminary ruling and provide an oppor-

tunity for public comment if that preliminary ruling is favorable and



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must issue a final ruling within 90 days after the end of the public com-

ment period.” 16 U.S.C. § 4909(b).

     The list of approved species for import to the United States is gov-

erned by 16 U.S.C. § 4905. The statute states that the FWS will list a

species on the approved list by “the countries of origin from which the

species may be imported” or “if appropriate, the qualifying facilities in

those countries from which the species may be imported.” 16 U.S.C. §§

4905(a)(2)(A)-(B).

     The species on the approved list may be either captive-bred or

non-captive-bred. 16 U.S.C. §§ 4905(b)-(c). The 48 species currently

listed at 50 C.F.R. § 15.33 only include captive-bred specimens. How-

ever, the U.S. still permits the importation of non-captive-bred avian

species, so long as they are not listed on the CITES.

     Notably, when the WBCA was passed into law in 1992, between

206,797 and 267,908,7 non-captive-bred Psittaciformes 8 were in interna-

tional trade, while in 2020, only between 6,479 to 17,291 non-captive-


7 CITES trade data is self-reported by member countries and contains

discrepancies, such as differences between the number of export per-
mits reported to have been issued and the number of permits used, as a
result, the data creates a range of possible trade volumes.
8 The order Psittaciformes includes all parrots.



                                     19
bred Psittaciformes were in international trade. Likewise, the trade

data shows that in the year 1992, between 62,344 and 78,291 captive-

bred Psittaciformes were in international trade, while in 2020, between

91,445 to 511,658 captive-bred Psittaciformes were in international

trade. Taking the low end of both ranges shows that approximately

93%9 of the international trade in Psittaciformes in 2020 was in captive-

bred birds compared to only 23% in 1992.10

  III. Scope and Standard of Review.

     This Court “review[s] de novo questions of statutory interpreta-

tion.” Silva-Hernandez v. USCIS, 701 F.3d 356, 361 (CA11 2012) (punc-

tuation and citation omitted). “ ‘ If the intent of Congress is clear, that

is the end of the matter; for the court, as well as the agency, must give

effect to the unambiguously expressed intent of Congress.’ ” Id. (citing

Chevron, U.S.A., Inc. v. NRDC, 467 U.S. 837, 842-43 (1984)). “In order

to determine whether the intent of Congress is clear, [courts] must




9 If we were to use the higher end of the range, effectively 99% of the in-

ternational trade in CITES-listed Psittaciformes would be in captive-
bred specimens.
10 The figures mentioned above are sourced from the CITES trade data-

base. CITES Trade Database, https://trade.cites.org/ (last visited Aug.
17, 2023).

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employ traditional tools of statutory construction.” Id. (citing Chevron,

467 U.S., at 843 n. 9).

                     SUMMARY OF ARGUMENT

     Pursuant to 16 U.S.C. § 4909, the OPA and LPS filed petitions to

add Cactus conure (Eupsittula cactorum) and the Lineolated parakeet

(Bolborhynchus lineola), to the approved import listed created by 16

U.S.C. § 4905(a)(2); 50 C.F.R. § 15.33. The FWS deemed these petitions

invalid and failed to adjudicate them. They made these findings because

the petitions requested that the species in question be permitted for im-

port from specific countries of origin. The position of the FWS was that

neither the statute nor the regulations permitted a species to be listed

on the approved import list by country of origin.

     It is the position of the OPA and LPS that the plain, unambiguous

language of the statute requires that the FWS accept and adjudicate

country-specific petitions. The OPA’s and LPS’s position is supported by

the implementation of the CITES regulatory framework, the regulatory

definition of country of origin found at 50 C.F.R. § 23.5 and 50 C.F.R §

10.12, and by the canon against surplusages.

     The reading proposed by the OPA and LPS is not radical, nor is



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not counterintuitive. The country of origin from which a specimen of a

species may be imported to the United States is a key piece of infor-

mation under the statute, the regulations, and the CITES. The reading

of the FWS ignores the importance of this key piece of information.

          ARGUMENTS AND CITATIONS OF AUTHORITY

  I.     The plain language of 16 U.S.C. § 4905(a)(2)(A) requires
         that FWS list avian species permitted for import by
         country of origin.

       The entirety of the dispute between the parties boils down to the

plain language meaning of the statutory text found at 16 U.S.C. §

4905(a)(2). Thus, it is only natural, to begin with, the statutory text.

"The starting point for interpreting a statute is the language of the stat-

ute itself." Consol. Bank, N.A., Hialeah, Fla. v. U.S. Dep't of Treasury,

Office of Comptroller of Currency, 118 F.3d 1461, 1463 (11th Cir. 1997).

“We begin our analysis, as always, with the statute's text.” Romero v.

Sec'y, U.S. Dep't of Homeland Sec., 20 F.4th 1374, 1381 (11th Cir.

2021).

       Under 16 U.S.C. § 4905(a)(1), the FWS is required to create, main-

tain, and update a list of species that is not subject to any of the import

prohibitions of the WBCA. Said list is found at 50 C.F.R. 15.33; for



                                    22
simplicity’s sake this will be referred to as the “approved import list.”

The manner in which species are to be listed is governed by 16 U.S.C. §

4905 (a)(2); the statute of contention. Since the plain language meaning

of this paragraph will decide the outcome of this case it is now quoted in

full:

        (2) Manner of listing

             The Secretary shall list a species under paragraph (1)
             with respect to—

             (A)   the countries of origin from which the species
                   may be imported; and

             (B)   if appropriate, the qualifying facilities in those coun-
                   tries from which the species may be imported.

16 U.S.C. § 4905(a)(2) (emphasis added.)

        It is the position of the OPA and LPS that the statute means that

it says, a listing of a species on the approved import list must be made

with respect to the "countries of origin from which the species may be

imported.” Alternatively, the species may be listed on the approved im-

port list from a qualifying facility within a particular country of origin.

That is to say, the OPA and LPS read the statute as clearly requiring

that if an entry is made on the approved import list, that entry must in-

clude the following information: 1) the species, 2) the countries of origin


                                      23
where that species may be imported from, and 3) if appropriate, a par-

ticular facility within that country of origin. And thus, any petition to

add a species to the approved import list can request that a species be

permitted for import from specific “countries of origin”

      Another way of looking at this is that the statute starts with the

broadest term, the species, which includes all specimens which are con-

sidered to be within that species, then the subset of specimens of the

species in approved countries where those specimens may originate

from, and finally, any qualifying facility for that species in an approved

country of origin from which the species can be imported from, the

smallest subset.

     Since "our starting point is the language of the statute itself.” Ar-

destani v. INS, 502 U.S. 129, 135, (1991) (cleaned up). And, “words are

to be given the meaning that proper grammar and usage would assign

them.” Nielsen v. Preap, 139 S. Ct. 954, 965, (2019). The OPA and LPS

struggle to see how these words can mean something other than what

they mean. A species must be listed on the approved list by "the coun-

tries of origin from which the species may be imported." Statutory




                                    24
language is rarely so cut and dry, but there it is, Congress has told us

what it wanted.

         And the OPA and LPS undoubtedly complied with what the stat-

ute requires when they filed their petitions under 16 U.S.C. § 4909. The

petitions requested that Cactus conures and Lineolated parakeets be in-

cluded on the approved import list from specific countries of origin. (DE

11-1; 11-2.)

   II.     The implementation of the CITES and the regulatory
           definitions of country of origin supports the OPA and
           LPS’s position.

         However, assuming that is not enough, the OPA and LPS would

direct this Court’s attention to the Model CITES permit and the U.S.

CITES permit provided above, both of which include a box for “country

of origin.”

         As explained supra, the WBCA is a “stricter domestic measure”

under the CITES and Congress explicitly understood itself as creating a

CITES compliance mechanism when writing the WBCA. 16 U.S.C. §§

4901(11)-(12). And any species added to the approved import list will

enter the United States under a CITES export permit from a foreign

country that will include a country of origin in the country-of-origin box



                                     25
on the CITES permit. Therefore, it is helpful to look at what “countries

of origin” means within the CITES context. “Context is a primary deter-

minant of meaning,” and “the entirety of the document thus provides

the context for each of its parts.” Antonin Scalia & Bryan Garner, Read-

ing Law: The Interpretation of Legal Texts (“Reading Law”) 167 (2012)

     Since any such import permit will be a CITES permit, we can look

to 50 C.F.R. Part 23, which includes all the regulations that implement

the United States’ obligations under the CITES. “The regulations in

this part implement the Convention on International Trade in Endan-

gered Species of Wild Fauna and Flora, also known as CITES, the Con-

vention, the Treaty, or the Washington Convention, TIAS (Treaties and

Other International Acts Series) 8249.” 50 C.F.R. § 23.1(a).

     Since the text of the WBCA does not provide a definition of “coun-

tries of origin,” then it only seems natural to look to the regulations that

implement the CITES for a definition. That definition is found at 50

C.F.R. § 23.5. “Country of origin means the country where the wildlife . .

. was taken from the wild or was born or propagated in a controlled en-

vironment.” 50 C.F.R. § 23.5. This definition only further strengthens

the OPA’s and LPS’s position. Country of origin does not mean the



                                    26
country where all specimens of the species originally originated from,

i.e. where they are native too, but the country, where in the case of cap-

tive-bred specimens, they were “born . . . in a controlled environment.”

        Therefore, 16 U.S.C. § 4905(a)(2) can only be read to mean that a

listing on the approved import list must include a limitation on coun-

tries of origin where the species can be imported from. And that country

of origin is the country where the specimens if captive-bred, were “born

in a controlled environment.” And that approved “country of origin” will

be listed on the CITES export permit, which will be presented to FWS

when the specimens arrive in the United States. The language of the

statute is clear, unambiguous, and in favor of the OPA's and LPS's posi-

tion.

        There is one other place in the FWS's regulations where the term

country of origin is defined. In 50 C.F.R § 10.12, “country of origin

means the country where the animal was taken from the wild, or the

country of natal origin of the animal.” However, here as well the regula-

tory definition means where the specimen was born. While it is true,

that “natal” can be defined as either native or place of birth, in this




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context native does not make sense.11 Notice that the language of the

regulation is written in the singular, “the animal.” This regulation is

discussing a singular specimen. Further, it is focused on where that ani-

mal was “taken from the wild” or “natal origin.” This language is focus-

ing on the country where the specific specimen came into captivity, i.e.

where it was captured or born.

     And when we look throughout the regulations for other uses of the

term "natal," we find that the regulations always use the word natal to

refer to the place of birth of a specimen. For example, "desert tortoise”

shall mean any member of the species Gopherus agassizii, . . . found

outside of Arizona (south and east of the Colorado River) and Mexico,

regardless of natal origin or place of removal from the wild.” 50 C.F.R. §

17.42(e). A member, that is any individual specimen of Gopherus agas-

sizii, is a desert tortoise, regardless of where it was born or taken from

the wild. In the regulations, natal is always used to refer to the place of

birth. See also 50 C.F.R. § 22.6 (“Local area population (LAP) means the

bald or golden eagle population within the area of a human activity or




11 Natal, Merriam-Webster, https://www.merriam-webster.com/diction-

ary/natal (last visited Aug. 17, 2023).

                                    28
project bounded by the natal dispersal distance for the respective spe-

cies.”); 50 C.F.R. § 17.95(i)(2)(iv) (“Stepping-stone habitat consisting of

undeveloped open areas with the physical characteristics appropriate

for supporting the short-stature prairie oak savanna plant community

(well-drained soils), within ~1.2 miles (~2 km) of natal lupine patches”).

     Therefore, “countries of origin” can only be understood within 16

U.S.C. § 4905 to have one meaning, the place where the captive-bred

specimens of a species on the approved import listed can have been born

in a controlled environment. Thus, the petitions filed by the OPA and

LPS with the FWS requesting that species be added to the approved im-

port list in relation to specific countries of origin must have been valid

because they conform with the plain language of the statute and the

regulatory text.

  III.   The statutory tools of construction further support the
         OPA and LPS.

     If that is still not enough, we can look to the traditional tools of

statutory construction. “To determine whether a statute has a plain

meaning, we ask whether its meaning may be settled by the traditional

tools of statutory construction. These tools encompass our regular




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interpretive method, including the canons of construction.” Hylton v.

U.S. Att'y Gen., 992 F.3d 1154, 1158 (11th Cir. 2021).

     The reading of the statute proposed by FWS, that it does not “pro-

vide for species listing in a country-by-country manner,” renders as sur-

plusage the statutory text to that effect. (DE 1-3; 1-4). The text of the

statute, 16 U.S.C. § 4905(a)(2)(A) states unequivocally that listings on

the approved import list must be made " with respect to—the countries

of origin from which the species may be imported.” This language must

mean something, otherwise, Congress would not have included it in the

statute. Likewise, the language in the succeeding subparagraph, 16

U.S.C. § 4905(a)(2)(B), is rendered superfluous by FWS’s reading.

Again, the subparagraph states:

     The Secretary shall list a species under paragraph (1) with respect

     to—

     ...

     (B) if appropriate, the qualifying facilities in those countries
     from which the species may be imported.

(Emphasis added.) The reading proposed by FWS eliminates the refer-

ences to country of origin in the statute in both subparagraphs. FWS

reads the statute like this:


                                    30
     (2) Manner of listing

           The Secretary shall list a species under paragraph (1) with
           respect to—

           (A)   the countries of origin from which the species may be
                 imported; and

           (B)   [or] if appropriate, the qualifying facilities in those
                 countries from which the species may be imported.

16 U.S.C. § 4905(a)(2) (as modified.) The “surplusage canon obliges us,

whenever possible, to disfavor an interpretation when that interpreta-

tion would render a clause, sentence, or word superfluous, void, or insig-

nificant.” In Re Shek, 947 F.3d 770, 777 (11th Cir. 2020 (cleaned up.)

     The reading proposed by the OPA and LPS is the only reading

that does not render the references to country of origin as surplusage.

And again, as discussed above, “country of origin” does have a defini-

tion. “Country of origin means the country where the wildlife . . . was

taken from the wild or was born or propagated in a controlled environ-

ment.” 50 C.F.R. § 23.5. And that is a key piece of information that is

listed on a CITES permit. Therefore, it cannot be that Congress in-

cluded these references to “country of origin” by accident. These refer-

ences mean something very specific within the structure of the statute.




                                    31
     And we must look to 50 C.F.R. § 23.5, for that definition because,

the WBCA is a “stricter domestic measure” under the CITES and Con-

gress explicitly understood itself as creating a CITES compliance mech-

anism when writing the WBCA. 16 U.S.C. §§ 4901(11)-(12). “The plain

meaning of a statutory provision derives not only from the ‘particular

statutory language at issue, but also the language and design of the

statute as a whole.” In Re Shek, 947 F.3d 770, 777 (11th Cir. 2020)

(cleaned up.)

     The reading here proposed by the OPA and LPS is not radical, it is

not counterintuitive. The OPA and LPS want what the statute states,

they want to be permitted to petition the FWS, under 16 U.S.C. § 4909,

to add species to the approved import list from specific countries of

origin. The OPA does not know if it would be appropriate to import Cac-

tus conures from Kazakhstan, but the OPA has visited Cactus conure

breeders in the Czech Republic doing excellent work. If the OPA wants

to petition the FWS to add Cactus conures from the country of origin of

the Czech Republic, it should be allowed to have that petition heard, be-

cause that is what the statutes want, and it is what the OPA wants.




                                    32
       The district court below thought that because the statute uses the

word “species” it must have been referring to all specimens of the spe-

cies worldwide. (DE 19 at 16-17.) And whiles a species does refer to all

genetically related individuals worldwide, where the court below erred

in not acknowledging, that while species is a subset of all life on earth,

species themselves have subsets, such as those captured in the wild,

those born in a controlled environment, those born in a particular coun-

try of origin, and/or in a qualifying facility. By reading “species” as an

indivisible whole, without subsets, the district court rendered the “coun-

tries of origin” language as surplusage. This cannot be the correct read-

ing.

                             CONCLUSION

       For the foregoing reasons, OPA and LPS respectfully request that

the Court grant their appeal, and declare that under 16 U.S.C. §

4905(a)(2)(A) the FWS must list species by country of origin from which

they can be imported and by extension that the FWS must consider pe-

titions filed under 16 U.S.C. § 4909 that request species be added to the

approved import list from specific countries of origin, and remand this

case for further proceedings consistent with the Court’s ruling.



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                       Respectfully submitted,

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       A principal brief may not exceed 30 pages unless it complies with

Fed R. App. P 32(a)(7)(B) (type-volume limitation), as per Fed. R App.

P. 32(a)(7)(A).

       This brief complies with the type-volume limit of Fed. R. App. P.

32(a)(7)(B)(i), excluding parts exempted by Fed. R. App. P. 32(f), and

11th Cir. R. 32-4,* in that, it contains no more than 13,000 words, to

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                                   /s/ David A. Garcia
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August 21, 2023                    Counsel for Appellants




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     I certify that, on August 21, 2023, I electronically filed the forego-

ing with the Clerk of the Court of the United States Court of Appeals

for the Eleventh Circuit by using the appellate CM/ECF system. I fur-

ther certify that all participants in the case are registered CM/ECF us-

ers and that service will therefore be accomplished through the appel-

late CM/ECF system.

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